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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

TRUSTEES OF THE PAINTERS UNION                            Case No.
DEPOSIT FUND, a voluntary                                 Hon.
unincorporated trust,

                   Plaintiff,

-vs-

BONDHARD, LLC,
A Michigan limited liability company,

                   Defendants.
_________________________________________/
MARK MERLANTI (P35804)
FINKEL WHITEFIELD SELIK
Attorneys for Plaintiff
32300 Northwestern Highway, #200
Farmington Hills, Michigan 48334-1567
248/855-6500
_________________________________________/

                                 COMPLAINT

       Plaintiff, by and through its attorneys, FINKEL WHITEFIELD SELIK, complains

against Defendant as follows:

       1)   Plaintiff is a voluntary, unincorporated trust, having its principal place of

business in Southfield, Oakland County, Michigan.

       2)   Defendant, Bondhard, LLC, is a Michigan limited liability company with

its principal place of business and/or registered office at 505 Chandler St., Apartment


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104, Howell, MI 48855, its Resident Agent is AJ Arreguin and is an employer in an

industry affecting commerce within the meaning of Section 301 of the Labor

Management Relations Act of 1947, as amended, 29 U.S.C. 185 (hereinafter "the Act").

      3)     Jurisdiction of this Court is predicated on Section 301 of the Act, this being

a suit for violation of a contract between an employer and labor organization representing

employees in an industry affecting interstate commerce. Jurisdiction of this Court is

further predicated on Sections 502(a)(3) and 515 of the Employee Retirement Income

Security Act of 1974, as amended, 29 U.S.C. 1132, 1145 (hereinafter "ERISA"), this

being a civil suit on behalf of named fiduciaries to enforce Defendants' obligations under

the terms and conditions of a certain collective bargaining agreement and pension and

employee benefit plan documents, and to enjoin certain acts and practices of Defendant

which violate the terms and conditions thereof.

      4)     On or about November 5, 2018, Defendant entered into an Agreement Form

with Painters District Council 1M of the International Brotherhood of Painters and Allied

Trades (AFL-CIO), hereinafter "the Painters Union". A copy of that Agreement Form is

attached and incorporated as Exhibit A.        The Agreement Form requires that the

Defendant comply with the various conditions of the most current labor agreement

between Michigan Union Constr. (Contractors) Association (Labor Agreement), a copy

of which is attached and incorporated as Exhibit B. The Agreement Form and the Labor

Agreement are collectively referenced as the Agreement.


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      5)     Under the Agreement, Defendant became obligated to make periodic

payments to Plaintiff for various employee benefit funds established under the

Agreement. These payments represented a portion of wages earned by the employees

of Defendant who are members of the Painters Union, and who work within the

jurisdiction of the Painters Union.

      6)     Pursuant to the Agreement, Plaintiff is a collection fund created to

coordinate the activities of the various employee benefit funds on behalf of the Painters

Union, including, but not limited to the collection of contributions thereto and the

prosecution of delinquencies. Plaintiff is a third-party beneficiary of the Agreement.

      7)     The Agreement and employee benefit fund trust agreements, adopted by

reference therein, require the Defendant to submit monthly reports which indicate the

amount of contributions that said Defendant is obligated to pay, and further require that

all payments to the various fringe benefit funds be made on a timely basis. Said

Agreement further provides for the assessment of liquidated damages in the event

payment is not made on a timely basis.

      8)     Pursuant to Article XX, Section 2 of the Agreement, Defendant is required

to submit its payroll records to Plaintiff for audit to ascertain whether Defendant has

complied with its obligation under the Agreement to pay fringe benefit contributions.

      9)     Pursuant to Article XX, Section 2 of the Agreement, Defendant is also

required to submit any and all of its books, records, accounts, ledgers and records of


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original entry to Plaintiff for audit if ordered to do so by Plaintiff’s Board of Trustees or

its representatives.

      10)    Plaintiff has notified Defendant of its request to audit the books and records

of Defendant, pursuant to Article XX, Section 2. The period to be covered by the audit

is November 2018 to the date of completion of the audit.

      11)    Although Plaintiff has repeatedly requested access to Defendant’s books

and records for the purpose of conducting a payroll audit, Defendant has failed to comply

with Plaintiff’s requests and has otherwise refused to permit Plaintiff to conduct the

requested audit as Plaintiff is authorized to do under the Agreement.

      12)    In the absence of the requested audit, Plaintiff is unable to determine

whether Defendant is indebted to Plaintiff for fringe benefit contributions and liquidated

damages regarding the period to be covered by the requested audit. The total amount of

fringe benefit contributions which may be owed to Plaintiff for this period cannot be

determined because Defendant refuses to submit the company books and records for

review by a representative of Plaintiff.

      13)    The Defendant has failed to comply with the applicable provisions of the

Agreement, relating to the submission of its books and records for audit and potentially,

the payment of fringe benefit contributions.

      14)    Defendant’s persistent flaunting of its contractual and statutory obligations

to submit to the requested audit in a timely manner constitutes willful dereliction of


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Defendant’s obligations. Such dereliction has caused and will continue to cause

irreparable injury to the participants and beneficiaries of the Funds, through jeopardizing

their rights to benefits necessary to their health and well-being to which those

beneficiaries are entitled.

      15)    The actions of Defendant described above, if applicable, threaten and

continue to threaten the financial integrity of the Funds and impair their capacity to

formulate funding standards, as well as cause the Funds to lose the monetary benefit of

investment income which could be realized if Defendant’s fringe benefit contributions

were remitted in a timely fashion.

      16)    The actions of Defendant described above, if applicable, constitute actual

threats of irreparable injury to the Funds and their participants and beneficiaries for

which there is no adequate remedy at law, and public policy supports enjoining

Defendant’s activities.

      17)    The Funds have diligently requested Defendant to comply with its

obligations, including the submission of its records for audit, so as not to impair the

rights of the Funds and their participants and beneficiaries, but Defendant continues to

violate its contractual and statutory obligations to the detriment of the Funds and their

participants and beneficiaries.

      18)    Under Section 502 of ERISA, 29 U.S.C. 1132, when the trustees of

multiemployer fringe benefit funds obtain a judgment in favor of the funds in litigation


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to collect unpaid contributions, the Court shall award the greater of interest or liquidated

damages provided for by the funds, in an amount not be exceed twenty percent of the

unpaid contributions.

      19)    Under Section 502 of ERISA, 29 U.S.C. 1132, when the trustees of

multiemployer fringe benefit funds obtain a judgment in favor of the funds in litigation

to collect unpaid contributions, “the court shall award . . . reasonable attorney fees and

costs of the action, to be paid by the defendant”, as well as interest on the unpaid

contributions pursuant to statute.

      20)    Defendant may have engaged in a pattern of fraud to avoid paying required

fringe benefit contributions to the Funds, and engaged in misconduct which includes

converting money paid to Defendant for the purpose of paying fringe benefit

contributions to the Funds, retaining money required to be held in trust under the

Michigan Builders Trust Fund Act, M.C.L.A. 570.151-53 for the benefit of Defendant’s

employees, withholding money from employee wages for transfer to the Funds but

failing to do so, failing to submit monthly reports containing information about work

performed by Defendant’s employees and intentionally engaging in a scheme to deprive

the Funds of money owing to them.

      WHEREFORE, Plaintiff prays:

      A.     That this Court order Defendant to produce its books and records forthwith

for a payroll audit;


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      B.       That this Court enter judgment against Defendant and in favor of Plaintiff

in the amounts that are determined to be the correct amounts owing by Defendant, plus

interest for any delinquent monthly contribution(s), any applicable liquidated damages,

as well as the costs and attorney fees incurred by Plaintiff in the preparation, institution

and prosecution of this proceeding;

      C.       That this Court decree specific performance of the trust provision and

collective bargaining agreement obligations of Defendant;

      D.       That this Court grant such other and further relief as may be deemed

appropriate.

Dated: January 30, 2020                 FINKEL WHITEFIELD SELIK

                                        /s/ Mark Merlanti
                                        ___________________________________
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